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                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

   VALENTIN MARES and YUDIRIA
   CHEVAZ, individually and as parents
   and guardians of EILEEN MARES, a             Case No:
   minor child,

                 Plaintiffs,

   v.

   UNITED STATES OF AMERICA,

                 Defendant.
                                            /

        COMPLAINT FOR DAMAGES UNDER THE FEDERAL TORT CLAIMS ACT

         The Plaintiffs, VALENTIN MARES and YUDIRIA CHAVEZ, individually and as the

  parents and guardians of EILEEN MARES, a minor child, by and through their undersigned

  attorney, sue the Defendant, UNITED STATES OF AMERICA, and allege as follows:

                      JURISDICTION, VENUE AND INTRODUCTION

         1.     Plaintiffs, VALENTIN MARES and YUDIRIA CHAVEZ, individually and as the

  parents and guardians of EILEEN MARES, a minor child, bring this complaint against the

  UNITED STATES OF AMERICA pursuant to the Federal Tort Claims Act (“FTCA”), 28 U.S.C.

  Section 1346(b).

         2.     Formal Notice of this claim was made upon the Defendant, UNITED STATES OF

  AMERICA, through the Department of Health and Human Services, General Counsel, Claims

  Office of the Defendant, UNITED STATES OF AMERICA, by submitting Form 95-108 within

  the Statute of Limitations. See Exhibit “A”, Standard Form 95.
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         3.     The Plaintiffs have exhausted their claims by filing the required forms with the

  Defendant and having their claims denied. See Exhibit “B”, Denial Letter date May 30, 2017.

         4.     The Complaint is being filed within the applicable statute of limitations.

         5.     This action seeks damages for physical and cognitive damages suffered by EILEEN

  MARES as a result of negligent medical care during labor and delivery at Jackson Hospital South

  on August 30, 2014.

         6.     This Court has subject matter jurisdiction over this claim against the UNITED

  STATES OF AMERICA for money damages pursuant to 28 U.S.C. Section 1346(b).

         7.     The acts and/or negligence giving rise to this claim occurred in the Southern District

  of Florida. Venue is proper under 28 U.S.C. Section 1402(b).

         8.     Plaintiffs, VALENTIN MARES and YUDIRIA CHAVEZ, individually and as the

  parents and guardians of EILEEN MARES, a minor child, at all times relevant hereto are residents

  of Miami-Dade County, Florida.

         9.     Community Health of South Florida, Inc. is a Federal Qualified Health Center

  located in Miami-Dade County, Florida.

         10.    All pre-requisites to filing this Complaint have been timely satisfied.

                                             PARTIES

         11.    Plaintiff VALENTIN MARES is the parent and legal guardian of the minor child,

  EILEEN MARES and resided in Miami-Dade County, Florida.

         12.    Plaintiff YUDIRIA CHAVEZ is the parent and legal guardian of the minor child,

  EILEEN MARES and resided in Miami-Dade County, Florida.
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         13.     At all times material hereto, Defendant, UNITED STATES OF AMERICA by Federal

  statute is responsible under the Federal Torts Claim Act for any negligent acts and omissions of

  employee, agents and apparent agents of Community Health of South Florida, Inc.

         14.     Molrine Andrea Tracey, M.D. was either an employee, agent, or servant of

  Community Health of South Florida, Inc., a Federal Qualified Health Center, which is covered

  under the provisions of the Federal Tort Claims Act.

         15.     Laurel Gammie McDonald, ARNP was either an employee, agent, or servant of

  Community Health of South Florida, Inc., a Federal Qualified Health Center, which is covered

  under the provisions of the Federal Tort Claims Act.

         16.     At all times material to this cause of action, other unknown and unnamed medical

  staff provide care and treatment to YURIDA CHAVEZ and EILEEN MARES, who were the

  agents, servants, and/or employees of Community Health of South Florida, Inc. and were acting

  on behalf of Community Health of South Florida, Inc. and were within the course and scope of

  their agency and under its control.

         17.     Defendant UNITED STATES OF AMERICA is sued for EILEEN MARES’

  personal injuries caused by the negligence or wrongful acts of employees and/or agents of

  Community Health of South Florida, Inc. Those employees and/or agents were acting within the

  scope of their office or employment during all times referenced hereto. Under the circumstances,

  the UNITED STATES OF AMERICA, if a private person, would be liable to the Plaintiffs in

  accordance with the laws of the State of Florida. See 28 U.S.C. Section 1346(b).
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                                    FACTUAL ALLEGATIONS

         18.     On August 30, 2014, at approximately 10:30 a.m., YURIDA CHAVEZ, a 25 year

  old pregnant female, presented to Jackson South Community Hospital at 40 weeks gestation with

  contractions and labor pain. Her prenatal history was unremarkable.

         19.     YURIDA CHAVEZ’s attending physician at that time was documented as Molrine

  Andrea Tracey, M.D. Dr. Tracey was either an employee, agent, or servant of Community Health

  of South Florida, Inc., a Federal Qualified Health Center, which is covered under the provisions

  of the Federal Tort Claims Act.

         20.     YURIDA CHAVEZ’s advanced registered nurse practitioner was Laurel Gammie

  McDonald, ARNP. Nurse McDonald was either an employee, agent, or servant of Community

  Health of South Florida, Inc., a Federal Qualified Health Center, which is covered under the

  provisions of the Federal Tort Claims Act.

         21.     YURIDA CHAVEZ’s fetal monitor strips reflect that her labor stalled, possibly as

  a result of the size of the baby, EILEEN MARES.

         22.     At 5:35 p.m., after 10 hours of labor, YURIDA CHAVEZ’s membranes were

  ruptured and within minutes, the fetal tracings (based on the fetal monitor strips) showed signs of

  an umbilical cord prolapse pattern.

         23.     Despite these tracings, according to the fetal monitor strips, the cord prolapse was

  not noted by the health care providers until they checked her approximately 10 minutes later.

         24.     As a result of the cord prolapse, during the course of labor and delivery, EILEEN

  MARES demonstrated sustained bradycardia in the 60s and 70s lasting approximately 30 minutes.
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         25.     Appropriate care was not provided to YURIDA CHAVEZ and EILEEN MARES

  to prevent the umbilical cord from crushing or collapsing.

         26.     No further action was taken by the healthcare providers rending care and treatment

  to EILEEN MARES to remedy her fetal bradycardia. These failures resulted in a hypoxic brain

  injury to EILEEN MARES.

         27.     According to the fetal monitor strips, Dr. Tracy did not arrive to perform an

  emergency Cesarean section until after 8:00 p.m. which caused prolonged and sustained

  bradycardia to EILEEN MARES.

         28.     EILEEN MARES has suffered, and continues to suffer in the future, from severe

  cognitive damages resulting from the prolonged and sustained bradycardia including, but not

  limited to, hypoxic injury, hypoxic ischemic encephalopathy, feeding disorder, infantile spasms,

  acute respiratory failure, cerebral palsy, necessity for G-Tube placement, seizure disorder,

  developmental delay, blindness, and hearing loss.

                                    COUNT I NEGLIGENCE

         The Plaintiffs adopt and re-allege paragraphs 1 through 28 and further allege:

         29.     As a Federal Qualified Health Center, Community Health of South Florida, Inc. is

  covered under the provisions of the Federal Tort Claims Act.

         30.     At all times material to this cause of action, the Defendant, UNITED STATES OF

  AMERICA, through the medical care providers, including but not limited to Molrine Andrea

  Tracey, M.D. and Laurel Gammie McDonald, ARNP, at Community Health of South Florida, Inc.,

  a licensed and accredited health center, held themselves out to the public in general and to
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  VALENTIN MARES and YURIDA CHAVEZ, as parents and guardians of EILEEN MARES, as

  a health center and providers that were capable of providing the duty and level of care and skill

  which, under the circumstances, is recognized as acceptable and appropriate by reasonably prudent

  similar health care providers.

         31.      As a direct and proximate result of the negligent acts and omissions of, Community

  Health of South Florida, Inc., Molrine Andrea Tracey, M.D., Laurel Gammie McDonald, ARNP,

  and other unknown medical providers employed and/or agents of Community Health of South

  Florida, Inc., EILEEN MARES suffered permanent bodily injury, and continues to suffer in the

  future, from severe cognitive damages including, but not limited to, hypoxic injury, hypoxic

  ischemic encephalopathy, feeding disorder, infantile spasms, acute respiratory failure, cerebral

  palsy, necessity for G-Tube placement, seizure disorder, developmental delay, blindness, and

  hearing loss.

         32.       The aforementioned doctors and advanced registered nurse practitioners breach

  their duty to EILEEN MARES by one or more of the following acts or failures to act:

               a. Failing to timely perform a Cesarean section to deliver EILEEN MARES;

               b. Failing to properly monitor EILEEN MARES fetal monitor strips and failing to

                  timely acknowledge that she was suffering from umbilical cord prolapse;

               c. Failing to properly advise the medical doctors as to EILEEN MARES’ condition;

               d. Failing to properly alleviate the pressure on EILEEN MARES’ umbilical cord

                  causing sustained and prolonged bradycardia; and

               e. Failing to act as a reasonable medical provider under the circumstances.
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         33.     As a direct and proximate result of the negligence of the medical providers named

  above, the Plaintiffs make the below listed claims for damages.

                         CLAIMS FOR DAMAGES FOR ALL COUNTS
         34.     As a direct and proximate result of the negligence of the Defendant which caused

  the injuries of EILEEN MARES, VALENTIN MARES and YURIDA CHAVEZ, individually,

  and as parents and guardians of the minor child, EILEEN MARES, set forth the below listed claims

  on behalf of themselves individually and EILEEN MARES.

                                   CLAIM OF EILEEN MARES
         35. Plaintiff EILEEN MARES, as a direct and proximate result of the negligence of the

  Defendant as set forth above, has in the past and will in the future continue to suffer the following

  damages:

                 a. Bodily injury;

                 b. Pain and suffering;

                 c. Disability;

                 d. Disfigurement;

                 e. Loss of the capacity for the enjoyment of life;

                 f. Aggravation of pre-existing conditions;

                 g. Medical and hospital care and expenses;

                 h. Loss of earnings;

                 i. Loss of earning capacity in the future;

                 j. Rehabilitation expenses; and

                 k. Mental distress.
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      CLAIM OF VALENTIN MARES AS PARENT/GUARDIAN OF EILEEN MARES

          36.    As a direct and proximate result of the negligent conduct of the Defendants that

  caused injury to EILEEN MARES, VALENTIN MARES has, in the past, and will in the future,

  continue to suffer the loss of his child’s companionship, society, love and affection, the medical

  expenses in the past and in the future that have and will be incurred for the injuries to EILEEN

  MARES, economic loss including any earnings lost in the past and any loss of ability to earn

  money in the future reasonably resulting from the need to care or provide for the EILEEN MARES

  because of his injury and the loss of services, earnings or earning ability of his child in the past

  and in the future until the child reaches the legal age of majority for a disabled child (22 years of

  age).

      CLAIM OF YURIDA CHAVEZ, AS PARENT/GUARDIAN OF EILEEN MARES
          37.     As a direct and proximate result of the negligent conduct of the Defendants that

  caused injury to EILEEN MARES, YURIDA CHAVEZ has, in the past, and will in the future,

  continue to suffer the loss of her child’s companionship, society, love and affection, the medical

  expenses in the past and in the future that have and will be incurred for the injuries to EILEEN

  MARES, economic loss including any earnings lost in the past and any loss of ability to earn

  money in the future reasonably resulting from the need to care or provide for EILEEN MARES

  because of his injury and the loss of services, earnings or earning ability of her child in the past

  and in the future until the child reaches the legal age of majority for a disabled child (22 years of

  age).
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         WHEREFORE, the Plaintiffs demand judgment against the Defendant for compensatory

  damages in an amount in excess of the jurisdictional limits of this Court, exclusive of interest and

  costs, as well as any other damages and/or costs available by law.

         DATED, this __6th__ day of July, 2017.

                                                Respectfully submitted
                                                DAVID J. HALBERG, P.A.
                                                Barristers Building
                                                1615 Forum Place, Suite 3-B
                                                West Palm Beach, FL 33401
                                                PH: (561) 616-3000
                                                FAX: (561) 688-0775
                                                Service Email: Service@HalbergLaw.com

                                                       /s/ Ryan A. Fogg
                                                By_____________________________
                                                      Ryan A. Fogg (68773)
                                                      David J. Halberg (162450)
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DAVID J. HALBERG, P.A.
A T T O R N E Y S     A T   L A W
                                                                               BARRISTERS BUILDING
                                                                               1615 FORUM PLACE, SUITE 3-B
                                                                               WEST PALM BEACH, FLORIDA 33401
                                                                               TOLL-FREE 877-HALBERG
                                                                               TELEPHONE (561) 616-3000
                                                                               FAX (561) 688-0775



                                         Monday, May 08, 2017

    Sent Via FedEx #8085 1301 4713
    The General Counsel
    Department of Health and Human Services
    Office of the General Counsel
    Hubert H. Humphrey Building, Room 722A
    200 Independence Avenue, SW
    Washington, DC 20201


                                  Re:     Eileen Mares (a Minor), Valentine Mares
                                          (Father) and Yuridia Chavez (Mother)

    Dear Sir/Madam,

            Our firm has been retained by VALENTINE MARES and YURIDIA CHAVEZ to
    represent them in connection with a medical malpractice lawsuit arising from the birth of their
    daughter EILEEN MARES. Please accept this letter as our compliance with the notice requirement
    of the Federal Tort Claims Act.

           YURIDA CHAVEZ was a 25 year old female who presented to Jackson South Community
    Hospital in the morning of August 30, 2014, at 40 weeks gestation with contractions and labor
    pains and whose prenatal history was unremarkable.

            At 5:35 p.m. YURIDA CHAVEZ’s membranes were ruptured and within minutes, the fetal
    tracings (based on the fetal monitor strips) showed signs of a cord prolapse pattern. Despite these
    tracings, according to the fetal monitor strips, the cord prolapse was not noted by the health care
    providers until they checked her approximately 10 minutes later. Appropriate care was not
    provided to YURIDA CHAVEZ and EILEEN MARES (baby) to prevent the cord from crushing
    or collapsing.

            Furthermore, during the course of labor and delivery, EILEEN MARES demonstrated
    sustained bradycardia in the 60s and 70s as demonstrated in the fetal monitor strips lasting
    approximately 30 minutes. No further action was taken by the healthcare providers rending care
    and treatment to EILEEN MARES to remedy her fetal bradycardia. These failures resulted in a
    hypoxic injury to EILEEN MARES.

                                                                                        Plaintiffs'
                                                                                       Exhibit "A"
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           EILEEN MARES has suffered and continues to suffer in the future severe cognitive
   damage resulting from hypoxic injury, hypoxic ischemic encephalopathy, feeding disorder,
   infantile spasms, acute respiratory failure, cerebral palsy, necessity for G-Tube placement, seizure
   disorder, developmental delay, blindness, hearing loss, pain and suffering, disfigurement, loss of
   earnings in the future, mental anguish.

           Enclosed are the original Form 95’s for EILEEN MARES, VALENTINE MARES, and
   YURIDIA CHAVEZ, together with supporting documentation regarding the claims. Thank you
   for ensuring that this claim is acknowledged by agency attorneys, and processed in accordance
   with the administrative procedures of the Federal Tort Claims Act. If there is any deficiency in the
   forms or the presentation of this claim, please contact my office immediately so that same can be
   rectified.


                                                 Very truly yours,

                                                    /s/ David J. Halberg
                                                 DAVID J. HALBERG, ESQ.
                                                 For the Firm
                                                 (Signed in David J. Halberg, Esq.’s Absence to
                                                 Avoid Delay.)

   DJH/RAF/mlg
   Enclosures

   cc:    Office of General Counsel                             Via FedEx #8085 1301 4746
          The Department of Health and Human Services
          330 C Street, S.W., Switzer Building
          Suite 2600
          Washington, DC 20201

          Jeffrey S. Davis, General Counsel                     Via FedEx #8085 1301 4735
          200 Independence Ave., S.W., Room 713-F
          Washington, D.C. 20201

          Dana Petti, Chief Counsel Florida Regional Office Via FedEx #8085 1301 4757
          Sam Nunn Atlanta Federal Center
          61 Forsyth St., S.W., Suite 5M60
          Atlanta, GA 30303-8909
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                                                                       INSTRUCTIONS: Please read carefully the instructions on the                          FORM APPROVED
            CLAIM FOR DAMAGE,                                                                                                                               OMB NO. 1105-0008
                                                                      reverse side and supply information requested on both sides of this
             INJURY, OR DEATH                                         form. Use additional sheet(s) if necessary. See reverse side for
                                                                      additional instructions.

1. Submit to Appropriate Federal Agency:                                                            2. Name, address of claimant, and claimant's personal representative if any.
                                                                                                      (See instructions on reverse). Number, Street, City, State and Zip code.

                                                                                                     Rl Lit fJ f/\£££S , (\ (A\K»P^
                                                                                                    l^SVft Sto S>8^T2L^/us
3. TYPE OF EMPLOYMENT                   4. DATE OF BIRTH              5. MARITAL STATUS             6. DATE AND DAY OF ACCIDENT                            7. TIME (A.M. OR P.M.;

  • MILITARY ||J CIVILIAN
8. BASIS OF CLAIM (State indetail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved, the place of occurrenceand
  the cause thereof. Use additional pages if necessary).                                                         .       >                       r\ r? . . /~S           (* r\      .   • ,




                                                                                  PROPERTY DAMAGE                                                        ^£TOMM5
NAME AND ADDRESS OF OWNER. IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).


  K>bN£
BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
(See instructions on reverse side).


  N t>K> £.
10.                                                                    PERSONAL INJURY/WRONGFUL DEATH

STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT. STATE THE NAME
OF THE INJURED PERSON OR DECEDENT.                                          ^ , . L , ^ p^ AN *W bt>> ^                                              \»\lkK.\L . HSi PO >. C


                                                                                       WITNESSES
                                                                                                                                                            7^777TTftttUft
                               NAME                                                                  ADDRESS (Number, Street, City, State, and Zip Code)


                                                                                                                     -V iY\iv\ Wto \tN V\ b£ RJ Tft t-


12. (See instructions on reverse)                                            AMOUNT OF CLAIM (in dollars)

12a. PROPERTY DAMAGE                     12b. PERSONAL INJURY                                 12c. WRONGFUL DEATH                     12d. TOTAL (Failure to specify may cause
                                                                                                                                           forfeiture of your rights).

                  Ttf                      feb.b^.D^,^)
I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
FULL SATISFACTION AND FINAL SETTLEMENT OF THIS^LAIM.
13a. SIGNATURE OF CLAIMANT (See instruc                                                             13b. PHONE NUMBER OF PERSON SIGNING FORM                   14. DATE OF SIGNATURE



      yftk&yg c1
                              CIVIL PENALTY FORJ*RESENTING                                                           CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
                                      FRAUDULENT CLAIM                                                                   CLAIM OR MAKING FALSE STATEMENTS

The claimant is liable to the United States Government for a civil penalty of not less than         Fine, imprisonment, or both. (See 18 U.S.C. 287. 1001.)
S5.000 and not more than S10,000, plus 3 times the amount of damages sustained
by the Government. (See 31 U.S.C. 3729).

Authorized for Local Reproduction                                               NSN 7540-00-634-4046                                           STANDARD FORM 95 (REV. 2/2007)
Previous Edition is not Usable                                                                                                                 PRESCRIBED BY DEPT. OF JUSTICE
                                                                                                                                               28CFR 14.2
95-109
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                                                                                  INSURANCE COVERAGE


In order that subrogation claims may beadjudicated, itisessential that the claimant provide the following information regarding theinsurance coverage ofthe vehicle orproperty.
15. Do you carry accident Insurance?        ~j Yes If yes, give name and address of insurance company (Number, Street. City, State, and Zip Code) and policy number. tV] No




16. Have you filed a claim with your insurance carrier in this instance, and if so, is it full coverage or deductible?      J Yes       [^No        17. If deductible, state amount.




18. If a claim has been filed with yourcarrier, whatactionhas yourinsurertaken or proposedto take with referenceto yourclaim?(Itis necessary that youascertain these facts).




19. Do you carry public liability and property damage insurance? Q Yes If yes, give name and address of insurance carrier (Number. Street. City, State, and Zip Code). f\fNo




                                                                                        INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
employee(s) was involved in the incident. Ifthe incident involves more than one claimant, each claimant should submit a separate
claim form.

                                                         Complete all items - Insert the word NONE where applicable.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL                                     DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL                              INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                    THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY                                    TWO YEARS AFTER THE CLAIM ACCRUES.

Failure to completely execute this form or to supply the requested material within                The amount claimed should be substantiated by competent evidence as follows:
two years from the date the claim accrued may render your claim invalid. A claim
is deemed presented when it is received by the appropriate agency, not when it is                 (a) In support of the claim for personal injury or death, the claimant should submit a
mailed.                                                                                           written report by the attending physician, showing the nature and extent of the injury, the
                                                                                                  nature and extent of treatment, the degree of permanent disability, if any, the prognosis,
                                                                                                  and the period of hospitalization, or incapacitation, attaching itemized bills for medical,
Ifinstruction is needed in completing this form, the agency listed in item #1 on the reverse      hospital, or burial expenses actually incurred.
side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part 14.
Manyagencies have published supplementing regulations. Ifmore than one agency is                  (b) In support of claims for damage to property, which has been or can be economically
involved, please state each agency.                                                               repaired, the claimant should submit at least two itemized signed statements or estimates
                                                                                                  by reliable, disinterested concerns, or, if payment has been made, the itemized signed
                                                                                                  receipts evidencing payment.
The claim may be filled by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express
authority to act for the claimant. A claim presented by an agent or legal representative          (c) In support of claims for damage to property which is not economically repairable, or if
must be presented in the name of the claimant. If the claim is signed by the agent or             the property is lost or destroyed, the claimant should submit statements as to the original
legal representative, it must show the title or legal capacity of the person signing and be       cost of the property, the date of purchase, and the value of the property, both before and
accompanied by evidence of his/her authority to present a claim on behalf of the claimant         after the accident. Such statements should be by disinterested competent persons,
as agent, executor, administrator, parent, guardian or other representative.                      preferably reputable dealers or officials familiar with the type of property damaged, or by
                                                                                                  two or more competitive bidders, and should be certified as being just and correct.

If claimant intends to file for both personal injury and property damage, the amount for
each must be shown in item number 12 of this form.                                                (d) Failure to specify a sum certain will render your claim invalid and may result in
                                                                                                  forfeiture of your rights.

                                                                                    PRIVACY ACT NOTICE

This Notice is provided in accordance with the Privacy Act, 5 U.S.C. 552a(e)(3), and                   Principal Purpose: The information requested is to be used in evaluating claims.
concerns the information requested in the letter to which this Notice is attached.                     Routine Use: See the Notices of Systems of Records for the agency to whom you are
    A. Authority: The requested information is solicited pursuant to one or more of the                submitting this form for this information.
          following: 5 U.S.C. 301. 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq.. 28 C.F.R.            Effect of Failure to Respond: Disclosure is voluntary. However, failure to supply the
          Part 14.                                                                                     requested information or to execute the form may render your claim "invalid."

                                                                          PAPERWORK REDUCTION ACT NOTICE


This notice is solely for the purpose of the Paperwork Reduction Act, 44 U.S.C. 3501. Public reporting burden for this collection of information is estimated to average 6 hours per
response, including the time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
information. Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden, to the Director, Torts
Branch, Attention: Paperwork Reduction Staff. Civil Division, U.S. Department of Justice, Washington, DC 20530 or to the Office of Management and Budget. Do not mail completed
form(s) to these addresses.

                                                                                                                                              STANDARD FORM 95 REV. (2/2007) BACK
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        Case 9:17-cv-80801-XXXX Document 1 Entered on FLSD Docket 07/06/2017 Page 15 of 23
                                                                        INSTRUCTIONS: Please read carefully the instructions on the                          FORM APPROVED
              CLAIM FOR DAMAGE,                                         reverse side and supply information requested on both sides of this                  OMB NO. 1105-0008
               INJURY, OR DEATH                                         form. Use additional sheet(s) if necessary. See reverse side for
                                                                        additional instructions.

 1. Submit to Appropriate Federal Agency:                                                            2. Name, address of claimant, and claimant's personal representative if any.
                                                                                                       (See instructions on reverse). Number, Street, City, State and Zip code.

                                                                                          SuS'




 3. TYPE OF EMPLOYMENT                     4. DATE OF BIRTH            5. MARITAL STATUS             6. DATE AND DAY OF ACCIDENT                            7. TIME (A.M. OR P.M.)

     • MILITARY ^CIVILIAN ^ | <j /(j g% iY\A££/4.7>
                                                           rcumstancesattending the damage, injury, or death, identifying persons and property involved, the place ofoccurrenceand
     BASIS OF CLAIM (State in detail the known facts and circums
     the cause thereof. Use additional pages if necessary).                                    «                                 n   i/^     T   n     .» im^/7           t» l l l i \
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                                                                                   PROPERTY DAMAGE
                                                                                                                                              LStl                ftTT/i e H^ 2> >
 NAMEAND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).


     NPtV^.
 BRIEFLY DESCRIBETHE PROPERTY, NATURE AND EXTENT OF THE DAMAGE ANDTHE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
 (See instructions on reverse side).



     ^D/r1^:
 10.                                                                        PERSONAL INJURY/WRONGFUL DEATH

 STATE THE NATUREAND EXTENT OF EACH INJURY OR CAUSE OF DEATH.WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME
 OF THE INJURED PERSON OR DECEDENT.




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 11.                                                                                    WITNESSES


                                 NAME                                                                 ADDRESS (Number. Street, City. State, and Zip Code)



^)
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 12. (See instructions on reverse   •CSfctfYrrflertEJi)                        AMOUNT OF CLAIM (in dollars)
                                                                                                                                     S>E£ jgQMM
 12a. PROPERTY DAMAGE                       12b. PERSONAL INJURY                               12c. WRONGFUL DEATH                     12d. TOTAL (Failure to specify may cause
                                                                                                                                            forfeiture of your rights).
                                                                                  DD
                  iy                        &£b ooD D&D»                                                                                      t>, ODD, DO0t°^
 I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
 FULL SATISFACTION
           FACTI<  AND FINAL SETTLEMENT OF THIS CLAIM.

                                    T (See instructions on reverse side).                            13b. PHONE NUMBER OF PERSON SIGNING FORM                   14 DATE
                                                                                                                                                                    ATE OF SIGNATURE




                               CIVIL PENALTY FOR PRESENTING                                                        CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
                                      FRAUDULENT CLAIM                                                                    CLAIM OR MAKING FALSE STATEMENTS

 The claimant is liable to the United States Government for a civil penalty of not less than         Fine, imprisonment, or both. (See 18 U.S.C. 287. 1001.)
 35,000 and not more than S10,000, plus 3 times the amount of damages sustained
 by the Government. (See 31 U.S.C. 3729).

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                                                                                                                                                 28CFR 14.2
 95-109
     Case 9:17-cv-80801-XXXX Document 1 Entered on FLSD Docket 07/06/2017 Page 16 of 23

                                                                                 INSURANCE COVERAGE

In order that subrogation claims may beadjudicated, itisessential that theclaimant provide the following information regarding theinsurance coverage ofthe vehicle orproperty.
15. Do you carry accident Insurance?       ~\ Yes If yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number.'•UN(
                                                                                                                                                                     V7l ' :




16. Have you filed aclaim with your insurance carrier in this instance, and if so, is it full coverage or deductible?       ]] Yes NJ No            17. If deductible, state amount



18. If a claim has beenfiled with your carrier, what action has your insurer taken or proposed to takewith reference toyour claim? (It is necessarythat you ascertain these facts).




19. Do you carry public liability and property damage insurance? Q] Yes If yes, give name and address of insurance carrier (Number. Street, City, State, and Zip Code). 7\l No




                                                                                       INSTRUCTIONS


Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
employee(s) was involved in the incident. Ifthe incident involves more than one claimant, each claimant should submit a separate
claim form.

                                                         Complete all items - Insert the word NONE where applicable.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL                                    DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY. PERSONAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT. OR LEGAL                             INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
REPRESENTATIVE. AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                    THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
NOTIFICATION OF AN INCIDENT. ACCOMPANIED BY A CLAIM FOR MONEY                                    TWOYEARS AFTER THE CLAIM ACCRUES

Failure to completely execute this form or to supply the requested material within                The amount claimed should be substantiated by competent evidence as follows:
two years from the date the claim accrued may render your claim invalid. A claim
is deemed presented when it is received by the appropriate agency, not when it is                 (a) In support of the claim for personal injuryor death, the claimant should submit a
mailed.                                                                                           written report by the attending physician, showing the nature and extent of the injury, the
                                                                                                  nature and extent of treatment, the degree of permanent disability, if any, the prognosis,
                                                                                                  and the period of hospitalization, or incapacitation, attaching itemized bills for medical,
If instruction is needed in completing this form, the agency listed in item #1 on the reverse     hospital, or burial expenses actually incurred.
side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part 14.
Manyagencies have published supplementing regulations. Ifmore than one agency is                  (b) In support of claims for damage to property, which has been or can be economically
involved, please state each agency.                                                               repaired, the claimant should submit at least two itemized signed statements or estimates
                                                                                                  by reliable, disinterested concerns, or, if payment has been made, the itemized signed
                                                                                                  receipts evidencing payment.
The claim may be filled by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express
authorityto act for the claimant. A claim presented by an agent or legal representative           (c) In support of claims for damage to property which is not economically repairable, or if
must be presented in the name of the claimant. If the claim is signed by the agent or             the property is lost or destroyed, the claimant should submit statements as to the original
legal representative, it must show the title or legal capacity of the person signing and be       cost of the property, the date of purchase, and the value of the property, both before and
accompanied by evidence of his/her authority to present a claim on behalf of the claimant         after the accident. Such statements should be by disinterested competent persons,
as agent, executor, administrator, parent, guardian or other representative.                      preferably reputable dealers or officials familiar with the type of property damaged, or by
                                                                                                  two or more competitive bidders, and should be certified as being just and correct.

If claimant intends to file for both personal injury and property damage, the amount for
each must be shown in item number 12 of this form.                                                (d) Failure to specify a sum certain will render your claim invalid and may result in
                                                                                                  forfeiture of your rights.

                                                                                   PRIVACY ACT NOTICE
This Notice is provided in accordance with the Privacy Act. 5 U.S.C. 552a(e)(3), and                  Principal Purpose: The information requested is to be used in evaluating claims.
concerns the information requested in the letter to which this Notice is attached.                    Routine Use: See the Notices of Systems of Records for the agency to whom you are
    A. Authority: The requested information is solicited pursuant to one or more of the                submitting this form for this information.
          following: 5 U.S.C. 301. 28 U.S.C. 501 etseq . 28 U.S.C. 2671 et seq. 28 C.F.R              Effecf of Failure to Respond: Disclosure is voluntary. Hov/ever. failure to supply the
          Part 14.                                                                                    requested information or to execute the form may render your claim "invalid."

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This notice is solely for the purpose of the Paperwork Reduction Act, 44 U.S.C. 3501. Public reporting burden for this collection of information is estimated to average 6 hours per
response, including the time for reviewing instructions, searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
information. Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden, to the Director. Torts
Branch. Attention: Paperwork Reduction Staff, Civil Division, U.S. Department of Justice. Washington. DC 20530 or to the Office of Management and Budget. Do not mail completed
form(s) to these addresses.

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                                                                         INSTRUCTIONS: Please read carefully the instructions on the                         FORM APPROVED
              CLAIM FOR DAMAGE,                                                                                                                              OMB NO. 1105-0008
                                                                         reverse side and supply information requested on both sides of this
                 INJURY, OR DEATH                                        form. Use additional sheet(s) if necessary. See reverse side for
                                                                         additional instructions.

  1. Submit to Appropriate Federal Agency:                                                            2. Name, address of claimant, and claimant's personal representative if any.
                                                                                                         (See instructions on reverse). Number, Street, City, State and Zip code.




  3. TYPE OF EMPLOYMENT                   4. DATE OF BIRTH              5. MARITAL STATUS             6. DATE AND DAY OF ACCIDENT                            7. TIME (A.M. OR P.M.

    • MILITARY ^CIVILIAN                     Q j^3 ) ^fcj ft
  8. BASIS OF CLAIM (State in detail the knownfacts and circumstances attending the damage, injury, or death, identifying persons and property involved, the place of occurrence and
    the cause thereof. Use additional pages if necessary).                                _ .-.»_             .   i«_ . .. A ,       j   -r      \r\ >^ .-    -.     rS VA . .""s.   -s lA C




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                                                                                    PROPERTY DAMAGE

  NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).
                                                                                                                                              ( Sfcf hrrftodCh^
    jVf^£-
  BRIEFLY DESCRIBE THE PROPERTY. NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
  (See instructions on reverse side).


    A/P^£
  10.                                                                    PERSONAL INJURY/WRONGFUL DEATH

  STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT. STATE THE NAME
  OF THE INJURED PERSON OR DECEDENT.

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                                                                                         WITNESSES


                                 NAME                                                                  ADDRESS (Number, Street, City. State, and Zip Code)


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                              •3
                                   ^S&S \Af>>
  12. (See instructions on reverse)                                            AMOUNT OF CLAIM (in dollars)

  12a. PROPERTY DAMAGE                     12b. PERSONAL INJURY                                 12c. WRONGFUL DEATH                      12d. TOTAL (Failure to specify may cause
                                                                                                                                              forfeiture of your rights).        _

           X                               B^ "DtiQ jOOQ. VO                                                                             &50. 000,000. ^
  I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
  FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM.

  13a. SIGNATURE OF CLAIMANT (See instructions on reverse side).                                      13b. PHONE NUMBER OF PERSON SIGNING FORM                     14. DATE OF SIGNATURE


                                                                                                                                                                   :>
                                                                                                                                                                                     /?
     (j                         CIVIL
                                CIVIL PI
                                      PENALTY FOR PRESENTING                                                       CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
                                        FRAUDULENT CLAIM                                                                  CLAIM OR MAKING FALSE STATEMENTS

  The claimant is liable to the United States Government for a civil penalty of not less than         Fine, imprisonment, or both. (See 18 U.S.C. 287, 1001.)
  S5.000 and not more than $10,000, plus 3 times the amount of damages sustained
  by the Government. (See 31 U.S.C. 3729).

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                                                                                INSURANCE COVERAGE


In order that subrogation claims may beadjudicated, itisessential that theclaimant provide the following information regarding theinsurance coverage ofthe vehicle orproperty.
15. Do you carry accident Insurance? ~~| Yes If yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number. \\J£                    No




16. Haveyoufiled a claim with yourinsurancecarrierinthis instance,and ifso, is itfull coverageor deductible?            Q Yes |\Jno              17. If deductible, state amount.




18.Ifa claim has been filed with yourcarrier, whataction has yourinsurertaken or proposed to take with referenceto yourclaim? (Itis necessary that you ascertainthese facts).




19. Do you carry public liability and property damage insurance? PI Yes If yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code) J£Lno




                                                                                      INSTRUCTIONS


Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
employee(s) was involved in the incident. If the incident involves more than one claimant, each claimant should submit a separate
claim form.

                                                        Complete all items - Insert the word NONE where applicable.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL                                   DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
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REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                   THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
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Failure to completely execute this form or to supply the requested material within              The amount claimed should be substantiated by competent evidence as follows:
two years from the date the claim accrued may render your claim invalid. A claim
is deemed presented when it is received by the appropriate agency, not when it is               (a) In support of the claim for personal injury or death, the claimant should submit a
mailed.                                                                                         written report by the attending physician, showing the nature and extent of the injury, the
                                                                                                nature and extent of treatment, the degree of permanent disability, if any. the prognosis,
                                                                                                and the period of hospitalization, or incapacitation, attaching itemized bills for medical,
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Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part 14.
Many agencies have published supplementing regulations. If more than one agency is              (b) In support of claims for damage to property, which has been or can be economically
involved, please state each agency.                                                             repaired, the claimant should submit at least two itemized signed statements or estimates
                                                                                                by reliable, disinterested concerns, or, if payment has been made, the itemized signed
                                                                                                receipts evidencing payment.
The claim may be filled by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express
authority to act for the claimant. A claim presented by an agent or legal representative        (c) In support of claims for damage to property which is not economically repairable, or if
must be presented in the name of the claimant. If the claim is signed by the agent or           the property is lost or destroyed, the claimant should submit statements as to the original
legal representative, it must show the title or legal capacity of the person signing and be     cost of the property, the date of purchase, and the value of the property, both before and
accompanied by evidence of his/her authority to present a claim on behalf of the claimant       after the accident. Such statements should be by disinterested competent persons,
as agent, executor, administrator, parent, guardian or other representative.                    preferably reputable dealers or officials familiar with the type of property damaged, or by
                                                                                                two or more competitive bidders, and should be certified as being just and correct.

If claimant intends to file for both personal injury and property damage, the amount for
each must be shown in item number 12 of this form.                                              (d) Failure to specify a sum certain will render your claim invalid and may result in
                                                                                                forfeiture of your rights.

                                                                                  PRIVACY ACT NOTICE

This Notice is provided in accordance with the Privacy Act, 5 U.S.C. 552a(e)(3), and            B. Principal Purpose: The information requested is to be used in evaluating claims.
concerns the information requested in the letter to which this Notice is attached.              C. Routine Use: See the Notices of Systems of Records for the agency to whom you are
    A. Authority: The requested information is solicited pursuant to one or more of the            submitting this form for this information.
          following: 5 U.S.C. 301. 28 U.S.C. 501 etseq., 28 U.S.C. 2671 etseq., 28 C.F.R.       D. Effect of Failure to Respond: Disclosure is voluntary. However, failure to supply the
          Part 14.                                                                                  requested information or to execute the form may render your claim "invalid."

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Branch, Attention: Paperwork Reduction Staff, Civil Division, U.S. Department of Justice, Washington, DC 20530 or to the Office of Management and Budget. Do not mail completed
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    DEPARTMENT OF HEALTH & HUMAN SERVICES                    OFFICII OF THE GENERAL COUNSEL
                                                             General Law Division, CELB


                                                             330 C Street S.W.
                                                             Switzer Building. Suite 2600
                                                             Washington. D.C. 20201




                                            MAY 3 0 2017
 CERTIFIED    -   RETURN
 RECEIPT REQUESTED


  David J. Halberg,        Esquire
  David J. Halberg, P.A.
  Barristers Building
  1615 Forum Place, Suite 3-B
  West Palm Beach, Florida 33401

       RE:          Administrative claims of:   Valentine Mares and Yuridia
                    Chavez, individually, and Valentine Mares and Yuridia
                    Chavez, for Eileen Mares, a minor
                    2017-0350, 0351 and 0352

  Dear Mr.    Halberg:

  On May 9, 2017, you filed three administrative tort claims under the
  Federal Tort Claims Act ("FTCA"), 28 U.S.C. § 1346(b), 2401(b), 2671-2680,
  on behalf of your clients, Valentine Mares and Yuridia Chavez,
  individually, and for their minor daughter, Eileen Mares, alleging, inter
  alia, that as the result of negligent labor and delivery care rendered to
  Yuridia Chavez on August 30, 2014, by employees at the Community Health of
  South Florida, Inc., in Miami, Florida, Eileen. Mares sustained severe
  personal injuries, including hypoxic ischemic encephalopathy and cerebral
  palsy.

  The FTCA authorizes the settlement of any claim of money damages against
  the United States for, inter alia, injury or death caused by the
  negligent, or wrongful, act or omission of any employee of the Federal
  Government, while acting within the scope of employment. Under the FTCA,
  said act or. omission must be such that the United States, if a private
  person, would be liable to the claimant in accordance with the law of the
  place where the act or omission occurred. 28 U.S.C. § 2672. A tort claim
  against the United States must be presented in writing to the appropriate
  federal agency within two years after such claim accrues or be forever
  barred.     See 28 U.S.C. § 2401(b).   In addition,   a claim shall be deemed to
  have been presented on the date that the federal agency receives it.                      See
  28 C.F.R.    § 14.2(a).

  This letter constitutes the notice of final determination on these claims,
  as required by 28 U.S.C. §§ 2401 (b),2675(a) .    The administrative tort
  claims are denied.  Your clients' claims were received on May 9, 2017,
  past the two year statute of limitations.


                                                                             Plaintiffs'
                                                                            Exhibit "B"
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   David J. Halberg, Esquire
   2017-0350, 0351 & 0352
   Page 2


   If your clients are dissatisfied with this determination,      they may:

      1. file a written request with the agency for reconsideration of the
         final determination denying the claims within six (6) months from
         the date of mailing of this determination (28 C.F.R. § 14.9); or,

      2. file suit against the United States in the appropriate federal
         district court within six (6) months from the date of mailing of
         this determination    (28 U.S.C.   § 2401(b)).

   In the event your clients request reconsideration, the agency will review
   the claims within six (6) months from the date the request is received.
   If the reconsidered claims are denied, your clients' may file suit within
   six (6) months from the date of mailing of the final determination.

                                            Sincerely,



                                            William lU Biglow
                                                   associate General Counsel
                                            Claims and Employment Law Branch
